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 6                               UNITED STATES DISTRICT COURT

 7                                     DISTRICT OF NEVADA

 8

 9   THOMAS GREGORY SHEA,

10                  Plaintiff,                            Case No. 3:17-CV-00405-RCJ-WGC

11   vs.                                                                ORDER

12   UNITED STATES OF AMERICA, et al.,

13                  Defendants.

14

15          Plaintiff Thomas Shea files this “motion to re-open case,” requesting the Court make a

16   judicial determination on newly-discovered evidence. (ECF No. 42.) The Court liberally construes

17   this as a motion for relief from a final order under Fed. R. Civ. P. 60. See LR 59-1(a) (“Motions

18   seeking reconsideration of case-dispositive orders are governed by Fed. R. Civ. P. 59 or 60, as

19   applicable.”). LR 59-1(b) provides that “[a] movant must not repeat arguments already presented

20   unless (and only to the extent) necessary to explain controlling, intervening law or to argue new

21   facts. A movant who repeats arguments will be subject to appropriate sanctions.”

22          This is the third such motion Plaintiff has filed. (See ECF Nos. 32 and 37.) In each of the

23   prior motions Plaintiff argued that he had acquired “new and extraordinary evidence” satisfying

24   Fed. R. Civ. P. 60(b)(2). (ECF No. 32 at 1:12–13; ECF No. 37 at 1:10–13.) In its order resolving


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 1   the second motion, this Court denied the motion with prejudice, noting that “Plaintiff once again

 2   argues that he has acquired ‘new and extraordinary evidence’ without describing or proffering

 3   such . . . violat[ing] LR 59-1(b).” (ECF No. 39 at 2:2–5.) In the instant motion, Plaintiff raises the

 4   same argument of newly-discovered evidence proving “the most extreme and extraordinary

 5   circumstances.” (ECF No. 42 at 1.) However, as the Court previously denied this argument with

 6   prejudice, Plaintiff may not bring it again.

 7          Even if the Court did reach the substance of Plaintiff’s motion, it is meritless. The Court

 8   did not dismiss Plaintiff’s case for a lack of evidence, but for failing to state a claim, (ECF No. 8),

 9   and to comply with the Court’s Order, (ECF No. 26). Thus, even if the Court considered Plaintiff’s

10   evidence, it is not relevant to the reasons why the Court dismissed Plaintiff’s case.

11                                             CONCLUSION

12          IT IS HEREBY ORDERED that Plaintiff’s Motions (ECF No. 42) is DENIED

13   WITH PREJUDICE.

14          IT IS SO ORDERED.

15   Dated July 8, 2020.

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                                                    _____________________________________
17                                                            ROBERT C. JONES
                                                           United States District Judge
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